Case 6:22-cv-01130-DCJ-CBW Document 112-1 Filed 03/17/23 Page 1 of 1 PageID #: 2358




                         SUPREME COURT
                       STATE OF NEBRASKA

        CERTIFICATE OF GOOD STANDING

         I certify that I am Clerk of the Supreme Court of the State of Nebraska, the

   highest court of the State, and that on December 7th, 2015,           Eric James

   Hamilton was admitted to practice as an Attorney and Counselor at Law by the

   Supreme Court. I further certify that the attorney is now in good standing in the

   Courts of Nebraska, and there is not now pending in this court any disciplinary

   action. The attorney's private and professional character appears to be good.




                                        IN TESTIMONY WHEREOF, I have
                                        hereunto set my hand and caused to be
                                        affixed the Seal of this Court, in the City of
                                        Lincoln, on March 14, 2023.




                                        __________________________________________
                                                 Wendy A. Wussow, Clerk
